Case: 4:20-cv-00597-SEP Doc. #: 29 Filed: 05/06/20 Page: 1 of 2 PageID #: 199




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


 RANATA FRANK, etc., et al.,            )
                                        )
       Plaintiff,                       ) Case No. 4:20-cv-597
                                        )
 v.                                     )
                                        )
 CITY OF ST. LOUIS,                     )
                                        )
       Defendant.                       )


                    MEMORANDUM CORRECTING TESTIMONY

       Defendant City is obliged to note a misstatement in the testimony of

 Dr. Fredrick Echols, M.D. He is not currently licensed to practice medicine.

 Due to his role in public health, he stopped seeing patients some time ago

 and did not maintain licensure. This Memorandum is filed at the direction

 of the Court in response to e-mail notification to the Clerk and opposing

 counsel.



                                 Respectfully submitted,
                                 JULIAN L. BUSH
                                 CITY COUNSELOR

                                 Michael A. Garvin 39817(MO)
                                 Deputy City Counselor
                                 /s/Robert H. Dierker 23671(MO)
                                 Associate City Counselor
Case: 4:20-cv-00597-SEP Doc. #: 29 Filed: 05/06/20 Page: 2 of 2 PageID #: 200




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